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CIVIL COVER SHEET

The #5 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, excepl as

provided by lacal rules af court. This farm, app

raved by the Judicial Conference of the United Stales in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheel  (S// INSTRUCTIONS ON NEXT PAGE OF THIS HORM)

 

I. (a) PLAINTIFFS
TVPX ARS, INC., et al,

(b) County of Residence of First Listed Plaintiff DAVIS COUNTY, UTAH
(EXCEPT IN OS. PLAINTIFF CASES)

(c) Attorneys (Hirm Name, Address, and Telephane Number)

DEFENDANTS

Lincoln National Life Insurance Company

County of Residence of First Listed Defendant |_DELAWARE COUNTY, PA
1788 ONLY)

IN LAND CONDEMNATION CASES. USE THE LOCATION OF
THE TRACT OF LAND INVOLVED;

NOTE:

Attorneys (/fKnawn)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Il. BASIS OF JURISDICTION (Pace an "Vv" in One Box Only) IH. CITIZENSHIP OF PRINCIPAL PARTIES (Pace an ¥> in One Box for Plaintiff
(or Diversity Cases Only) and One Box far Defendant)
O 1 US, Government O 3 Federal Question PTF DEF PTE DEF
Plaintiff (U8. Government Not a Party) Citizen of This State a1 O 1 | Incorporated or Principal Place a4 m4
of Business In This State
O 2 U,S. Government 4 Diversity Citizen of Another State (K2 CO 2 Incorporated une Principal Place 95 (5
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O 150 Recovery of Overpayment [0 320 Assault, Libel & Pharmaceutical a GHES C7 410 Antitrust
& Enforcement of Judgment Stander Personal Injury C8 820 Copyrights 0 430 Banks and Banking
O 151 Medicare Act 0 330 Federal Employers’ Product Liability 0 830 Patent O 450 Commeice
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O 160 Stockholders’ Suits 0 355 Motor Vehicle 371 Truth in Lending Act O 862 Black Lung (923) J 850 Securities/Commodities/
C8 190 Other Contract Product Liability C1 380 Other Personal 0 720 Labor/Management 1 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability [4 360 Other Personal Property Damage Relations O 864 SSID Title XVI (J 890 Other Statutory Actions
O 196 Franchise Injury C1 385 Property Damage 0 740 Railway Labor Act O 865 RSI (405(p)) 1 891 Agricultural Acts
© 362 Personal Injury - Product Liability 0 751 Family and Medical 8 893 Environmental Matters
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O 220 Foreclosure 0 441 Voting OO 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
O 230 Rent Lease & Ejectinent O 442 Employment 1 510 Motions to Vacate © 87] IRS-Third Party Acl/Review or Appeal of
C1 240 Torts to Land 8 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations O 530 General OF 950 Constitutionality of
C8 290 All Other Real Property 0 445 Amer, w/Disabilities +] 535 Death Penalty IMMIGRATION State Statutes
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28.U.S.C. § 1332(d)

Brief description of cause:

VI. CAUSE OF ACTION

 

VE. REQUESTED IN Gt CHECK IF THIS IS A CLASS ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

Diversity Class Action Based on Life Insurance Policies

DEMAND $ CHECK YES only if demanded in complaint:

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: {Yes No
VIL]. RELATED CASE(S) |

IF ANY (Neel) Ge Gerald McHugh DOCKET NUMBER. 2:18-cv-01573
DATE Zon FS EY OF RECORD
07/16/2018 a

FOR OFFICE USE ONLY
Case 2:18-cv-02989-RBS Document1 Filed 07/17/18 Page 2 of 47

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: Davis County, Utah
Address of Defendant: Radnor, Pennsylvania
Place of Accident, Incident or Transaction: nationwide

 

RELATED CASE, IF ANY:

2:18-cv-01573 Gerald A. McHugh

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within one year Yes | | Nol]
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes | / | No [ |
pending or within one year previously terminated action in this court? =

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes | | No [Y]
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No

case filed by the same individual?

I certify that, to my knowledge, the within case Wis / (isnot related to any case now pending or within one year previously terininated action in
this court except as noted above.

= =
07/16/2018 C2 OE 32071

Attorney-at-Law / Pro Se Plaintiff Attorney 1.D. # (if applicable)

DATE:

 

 

CIVIL: (Place a V in one category only)

Federal Question Cases: Diversity Jurisdiction Cases:

 

 

 

A. B.
[1] |. Indemnity Contract, Marine Contract, and All Other Contracts 1. Insurance Contract and Other Contracts
[] 2. FELA [-] 2. Airplane Personal Injury
C1 3. Janes Act-Personal Injury [] 3. Assault, Defamation
CC] 4. Antitrust [| 4. Marine Personal Injury
H 5. Patent [_] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations Ll] 6. Other Personal Injury (Please specify):
LJ] 7. Civil Rights [] 7. Products Liability
f 8. Habeas Corpus [] 8. Products Liability — Asbestos
H 9. Securities Act(s) Cases LCL] 9. All other Diversity Cases

10. Social Security Review Cases (Please specify): _
L] 11. All other Federal Question Cases

(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

L Gaetan J. Alfano , counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

Ss ———
07/16/2018 Ck G 32971

Attorney-at-Law / Pro Se Plaintiff Attorney 1.D. # (if applicable)

DATE:

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F_R.C.P. 38.

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

TVPX ARS INC., etal. ; CIVIL ACTION
v.
Lincoln National Life Insurance Company . NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants, (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with tts first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track

to which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of speciat
management cases. }

(f) Standard Management — Cases that do not fall into any one of the other tracks.

 

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7/16/2018 _Gaetan J. Alfano Plaintiff
Date Attorney-at-law Attorney for
215-988-1441 215-981-0082 gia@pietragallo.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

 

 

TVPX ARS INC., as Securities Intermediary for Civil Action No.
CONSOLIDATED WEALTH MANAGEMENT,
LTD., on behalf of itself and all others similarly
situated, CLASS ACTION COMPLAINT
Plaintiff,
vs JURY TRIAL DEMANDED

LINCOLN NATIONAL LIFE INSURANCE
COMPANY,

Defendant.

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Plaintiff TVPX ARS Inc. (“plaintiff”), on behalf of itself and all others similarly situated,
for its Complaint against defendant Lincoln National Life Insurance Company (“Lincoln”), states
as follows:

NATURE OF THE ACTION

1. This is a class action brought on behalf of plaintiff and similarly situated owners
of life insurance policies issued by Lincoln. Plaintiff seeks to represent a class of Lincoln
policyholders who have been forced to pay unlawful and excessive cost of insurance (“COT”)
charges by Lincoln.

2. Plaintiff, along with numerous other Lincoln policyholders, has been forced to
pay inflated COI charges that are not allowed by the plain language of their insurance contracts.
The subject Lincoln policies specify that monthly cost of insurance (“COIP’) rates “will be

determined by the Company, based on its expectations as to future mortality experience’— and

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Case 2:18-cv-02989-RBS Document1 Filed 07/17/18 Page 5 of 47

nothing else. Lincoln also contractually promised to determine the cost of insurance on a
monthly basis.

3. Nationwide mortality experience has improved significantly over the past several
decades. Lincoln’s expectations as to future mortality experience have likewise substantially
changed in its favor. Insureds are living longer than Lincoln originally anticipated when the
policies at issue were first priced. That is one reason that Lincoln has repeatedly stated in
regulatory filings that mortality experiences were substantially better than it expected. Despite
this improved mortality experience, Lincoln has not lowered the COI rates it charges its
customers.

4, Universal and variable life policies combine death benefits with a savings or
investment component, often known as the “account value.” The COI charge is deducted
outright from the policy owner’s account value, so the policyholder forfeits the COI charge
entirely to Lincoln. The COI charge is supposed to compensate Lincoln for mortality risk — the
expected probability that the insured for that particular policy will die in a particular year.
Indeed, Lincoln’s corporate parent, Lincoln National Corporation (“LNC”) specifically refers to
COI charges as “mortality charges.” The payment of COI charges to cover Lincoln’s mortality
risk is the policy’s insurance component, and Lincoln contractually agreed to base its COI rate
only on mortality. The COI charge is deducted on a monthly basis, and it is calculated by
multiplying the applicable “COI rate” by the death benefit that Lincoln stands to pay out when
the insured dies. As LNC explains: “In a UL contract, policyholders have flexibility in the timing
and amount of premium payments and the amount of death benefit, provided there is sufficient
account value to cover all policy charges for mortality and expenses for the coming period.”

LNC further explains that “Mortality charges are either specifically deducted from the contract
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holder’s policy account value (1.e., cost of insurance assessments or ‘COI’s’) or are embedded in
the premiums charged to the customer.”

5. The subject policies here each state that the COI rates Lincoln charges “will be
determined by the Company, based on its expectations as to future mortality experience.” This
provision is referred to by the insurance industry as a “Single Consideration Policy Form”
because the only factor that the carrier expressly states that it can and must consider when
determining COI rates is “expectations as to future mortality experience.” This provision
requires Lincoln to decrease COI rates if it experiences an improvement in expected mortality.
In other words, if Lincoln expects fewer people to die at a given rate, then it will expect to pay
out fewer death benefits at a given rate. And if Lincoln pays out fewer death benefits over time,
the COI rate should correspondingly decrease.

6. In the face of the substantially improved mortality experience that has benefited
Lincoln, it is apparent that Lincoln has wrongly construed its policies as granting it a nonsensical
“heads I win, tails you lose” power, reserving the right to increase COI rates if there were to be
an unexpected pandemic that made mortality experience worse than anticipated, but not
requiring it to decrease COI] rates in the face of years and years of improved mortality
experience—an improvement that has, in fact, already occurred.

7. Lincoln has also wrongly “based” COI rates on factors not permitted by the
contract—i.e., factors other than its “expectations as to future mortality experience.”

8. Lincoln’s position has no merit and breaches the terms of the insurance policies.
As a result of this misconduct, plaintiff seeks monetary relief for the COI overcharges that
Lincoln has wrongly imposed on plaintiff and all of its similarly situated customers who each

own policies with the same language at issue here.
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THE PARTIES

9. Plaintiff TVPX ARS Inc., as securities intermediary for Consolidated Wealth
Management, Ltd., is a corporation organized under the laws of Wyoming with its principal
place of business in Utah. Plaintiff owns a LN580 Flexible Premium Adjustable Life Insurance
Policy, policy number 7144119, insuring the life of Lawrence Ripich, which was issued on or
about July 18, 2002 by Lincoln and currently has a face value of $400,000 (the “Ripich Policy”).
At issuance, Mr. Ripich was age 76. On information and belief, the Ripich Policy has not
received any COI rate decrease since it was issued.

10... Defendant Lincoln National Life Insurance Company is a corporation organized
and existing under the laws of Indiana, having its principal place of business in Radnor,
Pennsylvania. Lincoln is a wholly owned subsidiary of Lincoln National Corporation, which has
its principal place of business in Radnor, Pennsylvania.

JURISDICTION AND VENUE

11. This Court has jurisdiction over plaintiffs claims pursuant to 28 U.S.C. § 1332(d)
because this is a class action with diversity between at least one class member (including
Plaintiff) and one defendant and the aggregate amount of damages exceeds $5,000,000. This
action therefore falls within the original jurisdiction of the federal courts pursuant to the Class
Action Fairness Act, 28 U.S.C § 1332(d).

12. This Court has personal jurisdiction over Lincoln because it has its principal place
of business in Radnor, Pennsylvania.

13. Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)-(c)
because the events giving rise to plaintiff's causes of action occurred in this District, including

Lincoln’s COI rate overcharge.
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FACTUAL BACKGROUND

A. Cost of Insurance

14.‘ The Ripich policy has the following language about how the rate used to calculate
the COI charge — known as the “Cost of Insurance Rate” — will be determined:

Monthly cost of insurance rates will be determined by the Company, based on its

expectations as to future mortality experience. Any change in cost of insurance

rates will apply to all individuals of the same class as the insured. In determining

the monthly cost of insurance, the Company will add the amount of the Flat Extra

Monthly Insurance Cost, if any, show in the Policy Specifications. If the person

insured is in a rated premium class, the monthly cost of insurance rates for a

standard (non-rated) risk will be multiplied by the Risk Factor, if any, show in the

Policy Specifications. Under no circumstances will the cost of insurance rates

ever be greater than those specified in the “Table of Guaranteed Maximum Life

Insurance Rates.”

The Ripich Policy also provides that “[t]he cost of insurance for the insured is determined
on a monthly basis.” The set of policies at issue include all universal and variable universal life
policies issued on the policy form of the Ripich Policy (i.e., Policy Form Number LN580 series),
all policies in the Ripich Policy product line, and all policies issued by Lincoln on any policy
form that states that cost of insurance rates are “based on [Lincoln’s] expectations as to future
mortality experience.” These policies are referred to as “COI Class Policies.” Excluded from the
Class are the policies settled in the Bezich action against Lincoln, described in more detail below.
A copy of the Ripich Policy is attached hereto as Exhibit A.

15. The policies at issue are all form policies, and insureds are not permitted to
negotiate different terms. The COI Class Policies are all contracts of adhesion.

16. This policy language obligates Lincoln to determine its COIs every month, and

provides that the only factor that the carrier can and must consider when determining COI rates

are “expectations as to future mortality experience.” Nothing else. Because the COI rates on the
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COI Class Policies must be based solely on expectations as to future mortality experience, COI
rates must be adjusted if those expectations improve.

17. That the contract requires rates to be “based on” mortality alone is confirmed by
other provisions of the contract. The policy states that the maximum COI rates that can be
charged are “based . . . on” industry standard mortality tables. Those maximum COI rates are
explicitly set forth in the policy and are exactly equal to the rates in those industry standard
tables — i.e., the maximum COI rates are based on mortality rates and nothing else. But when it
comes to charging its customers actual COI rates, Lincoln ignores the language of the policies
and uses COI rates that are not “based on” its expectations as to mortality experience.

18. By contrast, Lincoln has issued other insurance policies that do not require it to
base its COI rates on mortality alone when that is its intention, including a /ater version of this
same product. For example Lincoln received permission from regulators to change the policy
form for a later version of the policy owned by plaintiff. This form, which was issued on policy
form number LN589, provided that: “Monthly Cost of Insurance rates will be determined by
Lincoln Life, based on its expectations as to future mortality, investment earnings, persistency,
and expenses (including taxes).” (emphasis added).

19. The size of the COI charge matters to universal life policyholders for at least two
important reasons: (a) the COI charge is typically the highest expense that a policyholder pays;
and (b) the COI charge is deducted from the account value (i.e., the savings component) of the
policy, so the policyholder forfeits the COI charge entirely to Lincoln (this is in contrast to the
balance of premium payments, which, after expenses are deducted, are deposited into the account
value and invested on behalf of the policyholder or credited with interest by the insurance

company).
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20. Lincoln has forced policyholders to pay excess COI charges by failing to adjust
COI rates in the face of improving mortality, and the COI charges are in excess of what Lincoln
is contractually permitted to charge to cover its mortality risks.

B. Improving Mortality and Lincoln’s Unlawful Failure to Base COI Rates
Solely on Expectations as to Future Mortality Experience

21. Lincoln has not decreased its COI rates for COI Class Policies, despite the fact
that mortality rates have improved steadily each year - i.e., mortality risks have gotten better for
Lincoln over time, as people are living much longer than anticipated when the products were
priced and issued.

22. ‘Insurers like Lincoln systematically quantify their “expectations as to future
mortality experience.” They perform experience studies which examine their historical mortality
experience and, based on that mortality experience, develop predictions of the mortality
experience they expect to see in the future. These expectations are explicitly quantified in the
form of mortality tables, which are charts showing the expected rate of death at a certain age.
Rate of death can be measured as a percentage or in terms of the number of deaths per thousand.
Separate tables are produced to reflect groups with different mortality. Mortality tables will
usually have separate tables for gender. Mortality tables for use with individual life insurance
policies additionally distinguish mortality rates for tobacco-use status, underwriting status and
duration since underwriting. Mortality tables are used by actuaries to calculate insurance rates,
and, if developed properly, are designed to reflect expectations as to future mortality experience.

23. Beginning at least as early as 1941, the National Association of Insurance
Commissioners (NAIC) has issued a series of Commissioners Standard Ordinary (“CSO”)

mortality tables. These are industry standard mortality tables that are commonly used by insurers
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to calculate reserves and to set maximum permitted cost of insurance rates in universal life
policies.

24. The 1980 table issued by the NAIC was called the 1980 Commissioners Standard
Ordinary Smoker or Nonsmoker Mortality Table (“1980 CSO Mortality Table”). That table was
the industry-standard table until 2001. In 2001, at the request of the NAIC, the Society of
Actuaries (SOA) and the American Academy of Actuaries (Academy) produced a proposal for a
new CSO Mortality Table. The accompanying report from June 2001 explained that (a) the 1980
CSO Mortality Table was still the industry-standard table and (b) expected mortality rates had
improved significantly each year since the 1980 table issued. The report stated:

The current valuation standard, the 1980 CSO Table, is almost 20 years old and

mortality improvements have been evident each year since it was adopted... .

[C]urrent mortality levels . . . are considerably lower than the mortality levels
underlying the 1980 CSO Table. !

25. The report further explained that “[f]or most of the commonly insured ages (from
about age 25 to age 75), the proposed 2001 CSO Table mortality rates are in the range of 50% to
80% of the 1980 CSO Table.” This means the tables are showing a substantial improvement in
mortality in a 20-year time period. These mortality improvements represent a substantial benefit
that Lincoln should have passed on to policyholders. The final proposed tables were adopted as
the 2001 Commissioners Standard Ordinary Mortality Table (“2001 CSO Mortality Table”).
The 2001 CSO Mortality Table reflected vastly improved mortality experience as compared to
the 1980 CSO Mortality Table.

26. The SOA established a committee to develop an update of the CSO tables. A

report on the updated CSO tables by the SOA was published in October 2015 and showed further

 

' See Report of the American Academy of Actuaries’ Commissioner’s Standard Ordinary (CSO) Task
Force, Presented to the National Association of Insurance Commissioners’ Life and Health Actuarial Task
Force (LHATF), June 2001, available at http://www.actuary.org/pdf/life/cso2_june01.pdf.
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significant reductions in insurance company reserves compared to CSO 2001 due to mortality
improvements since 2001.

27. The 2001 CSO Mortality Table was generated from the 1990-95 Basic Mortality
Tables published by the SOA. The SOA performs surveys of large life insurance companies for
the death rates actually observed in their policies and compares these to published mortality
tables. Periodically the SOA will publish an updated table to reflect the evolving industry
experience. Major mortality tables they have published over the last few decades include:
1975-1980 Basic Select And Ultimate Mortality Table
1985-90 Basic Select and Ultimate Mortality Tables
1990-95 Basic Select and Ultimate Mortality Tables
2001 Valuation Basic Mortality Table

2008 Valuation Basic Table
2015 Valuation Basic Table

28. The 1990-95 Basic Table reflected the death rates observed by 21 large life
insurance companies with policy anniversaries between 1990 and 1995. The 2001, 2008 and
2015 Valuation Basic tables each show significant mortality improvements from the 1990-1995
Basic tables demonstrating that since the introduction of the 2001 CSO Mortality Table,
mortality experience has continued to improve substantially and consistently. The report states:
“The current CSO table was created in 2001 based on experience from 1990-1995 and thus, is at
least 20 years old. Since that time, industry experience studies performed by the Society of
Actuaries Individual Life Experience Committee (ILEC) have shown significant mortality
improvement in the mortality rates experienced by the industry from that underlying the 2001
CSO table development.”

29. Lincoln has repeatedly acknowledged that, consistent with industry experience, its
mortality experience has been better than it expected. For example, Lincoln’s parent (Lincoln

National Corporation (“LNC”)) has filed required interrogatory statements on behalf of Lincoln
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with the NAIC, in each year from 2008-2014. These are sworn statements, signed by an actuary.
Each year, Lincoln answers the question “Are the anticipated experience factors underlying any
nonguaranteed elements [e.g., COI rates] different from current experience? If yes, describe in
general terms the ways in which future experience is anticipated to differ from current
experience and the nonguaranteed element factors which are affected by such anticipation.” In
2008, 2009, 2010, 2011, 2012, 2013, and 2014, Lincoln included the following sentence in its
response to this question: “Mortality experience is also predicted to improve in the future.” And
in 2015, 2016, and 2017, Lincoln did not reveal any worsening mortality in answer to this
question.

30. The same conclusion of “favorable” mortality experiences compared to carrier
assumptions is also documented in annual reports. For example, in 2005, LNC’s Life Insurance
segment unlocked reserves to reflect “improved mortality assumptions.” And in its Annual
Report on Form 10-K filed with the SEC for fiscal year 2016, Lincoln reported that “[i]n 2016,
we experienced modestly favorable mortality.” And in its 10-K for fiscal year 2017, Lincoln
reported that “[i]n 2017, we experienced modestly favorable mortality as compared to our
expectations.” Similar improved mortality assumptions were reflected in other years. LNC notes
in its annual reports that the “key experience assumptions” include “mortality rates” and that
Lincoln “periodically review[s]” these assumptions, but in violation of the policy language,
Lincoln did not lower COI rates to reflect these improved mortality assumptions.

31. Moreover, Lincoln loaded its COI rates with undisclosed factors other than
mortality, including maintenance, administrative and other expense factors, in violation of the
plain language of the contract. LNC concedes that a major profit driver for the company is to

load profit targets into its COI rates, in excess of mortality costs. It refers to this practice as

10
Case 2:18-cv-02989-RBS Document1 Filed 07/17/18 Page 14 of 47

generating “mortality margins.” In annual reports, LNC has explained that “Mortality margins
represent the difference between amounts charged to the customer to cover the mortality risk and
the actual cost of reinsurance and death benefits paid,” and that “[mlJortality charges” are
“specifically deducted from the contract holder’s policy account value (i.e. cost of insurance
assessments or ‘COI’s’).” (emphasis added). But the policies do not permit Lincoln to base its
COI rates on anything other than expectations as to future mortality experience — and its avowed
practice of using COI rates to generate mortality margins violates the contract. As a result,
Lincoln overcharged policyholders even if expectations as to future mortality experience had
never improved. This improper calculation of COI rates further damaged policyholders.

32. Lincoln also has concealed its wrongdoing: the monthly COI rates used to
calculate COI charges are not disclosed to policyholders, nor are the factors Lincoln actually
used to calculate those COI rates. Lincoln has never disclosed to policyholders that it is
improperly using COI rates that are not based on Lincoln’s expectations of future mortality
experience.

CLASS ACTION ALLEGATIONS

33. This action is brought by plaintiff individually and on behalf of the “COI
Overcharge” class pursuant to Rules 23(b)(3) of the Federal Rules of Civil Procedure.

34. The COI Overcharge Class consists of:

All owners of “universal life” (including variable universal life) insurance policies

issued by Lincoln National Life Insurance Company, or its predecessors, that

provide that cost of insurance rates are “based on [Lincoln’s] expectations as to

future mortality experience.”

The COI Overcharge Class does not include policies subject to the settlement in the case Peter S.

Bezich v. The Lincoln National Life Insurance Company, Case No. 02C01-0906 PL-73, in Allen

County Circuit Court of Allen County, Indiana, defendant Lincoln, its officers and directors,

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members of their immediate families, and the heirs, successors or assigns of any of the
foregoing.

35. The class consists of hundreds of consumers of life insurance and are thus so
numerous that joinder of all members is impracticable. The identities and addresses of class
members can be readily ascertained from business records maintained by Lincoln.

36. The claims asserted by plaintiff are typical of the claims of the COI Overcharge
Class.

37. The plaintiff will fairly and adequately protect the interests of the classes and does
not have any interests antagonistic to those of the other members of the classes.

38. Plaintiff has retained attorneys who are knowledgeable and experienced in life
insurance matters and COI matters, as well as class and complex litigation.

39. Plaintiff requests that the Court afford class members with notice and the right to
opt-out of any classes certified in this action.

40. This action is appropriate as a class action pursuant to Rule 23(b)(3) of the
Federal Rules of Civil Procedure because common questions of law and fact affecting the class
predominate over any individualized issues. Those common questions that predominate include:

(a) the construction and interpretation of the form insurance policies at issue
in this litigation;

(b) whether Lincoln’s actions in failing to decrease the cost of insurance
charges imposed on the COI Overcharge Class violated the terms of those form policies;

(c) whether Lincoln based its COI charges on factors other than expectations

as to future mortality experience;

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(d) whether Lincoln breached its contracts with plaintiff and members of the
class;

(f) whether Lincoln has experienced better mortality than it expected; and

(g) whether plaintiff and members of the Class are entitled to receive damages
as a result of the unlawful conduct by defendant as alleged herein and the methodology for
calculating those damages.

41. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy for at least the following reasons:

(a) the complexity of issues involved in this action and the expense of
litigating the claims, means that few, if any, class members could afford to seek legal redress
individually for the wrongs that defendant committed against them, and absent class members
have no substantial interest in individually controlling the prosecution of individual actions;

(b) when Lincoln’s liability has been adjudicated, claims of all class members
can be determined by the Court;

(c) this action will cause an orderly and expeditious administration of the
class claims and foster economies of time, effort and expense, and ensure uniformity of
decisions;

(d) without a class action, many class members would continue to suffer
injury, and Lincoln’s violations of law will continue without redress while defendant continues
to reap and retain the substantial proceeds of their wrongful conduct; and

(e) this action does not present any undue difficulties that would impede its

management by the Court as a class action.

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FIRST CLAIM FOR RELIEF
Breach of Contract

42. Plaintiff realleges and incorporates herein the allegations of the paragraphs above
of this complaint as if fully set forth herein. This claim is brought on behalf of plaintiff and the
COI Overcharge Class.

43. The subject policies are binding and enforceable contracts.

44, Lincoln breached the contract by deducting COI charges calculated from COI
rates not based on its expectations as to future mortality experience. These overcharges include,
but are not limited to, the excess COI charges that Lincoln deducted by not reducing COI rates
based on improved mortality.

45.  Lincoln’s failure to decrease COI rates also violated the contracts’ uniform
requirement that Lincoln determine its COI charge monthly because any such determination
would have shown the need to decrease COI rates based on the improved mortality.

46.  Lincoln’s decision to base COI rates on factors other than expectations as to
future mortality alone also breaches the policy.

47. Plaintiff and the COI Overcharge Class have performed all of their obligations
under the policies, except to the extent that their obligations have been excused by Lincoln’s
conduct as set forth herein.

48. As a direct and proximate cause of Lincoln’s material breaches of the policies,
plaintiff and the COI Overcharge Class have been — and will continue to be — damaged as alleged

herein in an amount to be proven at trial.

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PRAYER FOR RELIEF
WHEREFOR, plaintiff and the COI Overcharge Class pray for judgment as follows:

1. Declaring this action to be a class action properly maintained pursuant to Rule
23 of the Federal Rules of Civil Procedure;

2. Awarding plaintiff and the class compensatory damages;

3. Awarding plaintiff and the class pre-judgment and post-judgment interest, as
well as attorney’s fees and costs; and

4, Awarding plaintiff and the class such other relief as this Court may deem just

and proper under the circumstances.

DEMAND FOR JURY TRIAL

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, plaintiff and the class hereby

demand a trial by jury as to all issues so triable.

Dated: July 18, 2018 Respectfully submitted,

Gaetan J. Alfano

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Philadelphia, PA 19103

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Fax: 215-754-5181

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Attorneys for Plaintiff

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Exhibit A
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Policy Number 7144119
insured LAWRENCE RIPICH

Initial Specified Amount $400,000 Date af Issue JULY 18, 2002

The Lincoln National Life Insurance Company

A Stock Company Home Office Location: Fort Wayne, Indiana

Administrator Mailing Address: The Lincoln National Life Insurance Campany
350 Church Street
Hartford, CT 06103-1106

The Company agrees to pay the death benefit to the Beneficiary upon receipt of due proof of the
Insured’s death during the continuance of the policy. Such payment shal! be made as provided under the
“Payment af Proceeds” provision, The Company further agrees to pay the surrender value to the Owner
upon surrender of the policy.

Right to Examine the Policy. The policy may be returned to the insurance agent through whom it was
purchased or to tha Company within 10 days alter its recelpt (20 days after its receipt where required by
law for policies issued in replacement of other insurance). IF the policy is se returned, It will be deemed
void from the Date of Issue, and the Company will refund the premium paid.

The policy is issued anc accepted subject to the terms set forth on the following pages, which are made a
part of the policy. In consideration of ihe application and the payment of premiums as provided, this
policy is executed by the Company above as of the Date of issue.

Bundt O.. Brute

Registrar PRESIDENT

Flexible Premium Adjustable Life Insurance Policy — Non-Participating
Death benefit payable in the event of death of the Insured, Adjustable death benefit.
Surrender Value payable upon surrender of the policy.
Flexible Pramiums payable to the Insured's age 100 or death of the Insured, whichever is earlier.
Premium Payment Periods and Supplementary Coverages as shown in the Policy Specifications.

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Followed by Optional Methods of Settlement and Any Riders

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Policy Specifications
Policy Number 7144119

insured LAWRENCE RIPICH

tnitial Specified Amount $400,000 Date of Issue JULY 18, 2002
Minimum Specified Amount $25,000 Age atlssue 76
Monthly Anniversary Day 18 Premium Class PREFERRED

LN580 FLEXIBLE PREMIUM ADJUSTABLE LIFE INSURANCE
Benefit Amount: See Initial Specified Amount
Effective Date: Date of Issue

Monthly Insurance Cost: See “Cost of Insurance” Provision

Years Deductible: 24

Death Benefit Option: Specifled Amount Option 1 (Level)

Minimum Initial Premium: $1,082.63 Js the minimum amount dus on or before the Date of Issue to
commence coverage under this policy and to prevent the policy from
lapsing until the first Monthly Anniversary Day.

Payment Mode: ANNUAL

Note: This policy may terminate prior to age 100 if actual premlums paid together with interest credited
are insufficient to continue coverage to that date.

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insured

Initlal Specified Amount
Minimum Specified Amount
Monthly Anniversary Day

Lapse Protection Rider

Policy Specifications
Policy Number 7144119

LAWRENCE RIPICH

$400,060 Date of Issue JULY 18, 2002
$25,000 Ageatissue 76
18 Premium Class PREFERRED

Effective Date: Date of Issue
Date of Expiry: July 18, 2026

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Policy Specifications
Policy Number 7144119

insured LAWRENCE RIPICH

Initial Specified Amount $400,000 Date of Issue JULY 18, 2002
Minimurn Specified Amount $25,000 Ageatissue 76
Monthly Anniversary Day 18 Premium Class PREFERRED
Owner
THE INSURED
Beneficiary

LAWRENCE RIPICH, TRUSTEE OF THE LAWRENCE RIPICH DECLARATION OF TRUST, FOR
THE BENEFIT OF SUSAN COURTNEY, DATED DECEMBER 17, 1993, OR THE
SUCCESSOR(S) IN SAID TRUST, AND ANY AMENDMENTS THERETO, OR IF THE TRUST |S
TERMINATED, TO TERRY L RIPICH AND LAUREEN RIPICH MOONEY, IN EQUAL SHARES,
IF SURVIVING THE INSURED, OR THE SURVIVOR, IF ANY; OTHERWISE THE

EXECUTORS, ADMINISTRATORS OR ASSIGNS OF THE INSURED.

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Table Of Surrender Charges

The charge assessed upon surrender of the policy will be the lesser of the Surrender Charga shown or
the then current net cash value under the policy. No surrender charge is applied and therefore this table
remains unaffected by either a partial surrender or a decrease in Specified Amount. An additional
surrander charge table will apply to each increase in Specified Amount permitted by the Company.

Surrender Charge as of

Policy Year Beginning of Policy Year
1 $16,850
2 16,100
3 15,371
4 14,653
3 13,954
6 13,261
7 12,587
8 11,929
9 11,295

10 10,688
17 10,402
12 7,624
13 §,376
14 3,380
15 1,554
16 and thereafter 0

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Table of Guaranteed Maximum Insurance Rates Per $1,000

SPECIAL NOTE:

for the Person Insured

The monthly cost of Insurance rates are based on the sex, altained age (nearesl
birthday) and Premium Class of the person insured as desorbed under the
“Cast of tnsurance Rates” provision. In determining the Guaranteed Maximum
Cost of Insurance Rates, the Company will add the amount of the Flat Extra
Manthly insurance Cost, if any, shown in the Policy Specifications. If the person
insured is in a rated premium class, the Guaranteed Maximum Gost of
Insurance Rates will be those in the table multiplied by ihe Risk Factor, if any,
shown in the Policy Specifications. The rates below are based on the 1980 CSO
Tables (Male or Female as appropriate),

 

 

 

 

 

 

 

 

Maile Female Male Female Male Female
Monthly Monthly Monthly Monthly Monthly Monthly
Age Rate Rate Age Rate Rate Age Rate Rate
0 0.34845 0.24089 35 0.17586 0.13752 70 3.30338 1.84590
1 0.08917 0.07251 36 0.18670 0.14669 71 3.62140 2.02325
2 0.08251 0.06750 37 0.20004 0.15752 72 3.98666 2.24419
3 0.08167 0.06584 38 0.21505 0.17003 73 4.40599 2.51548
4 0.07917 0.06417 39 0.23255 0.18503 74 4,87280 2.83552
5 0.07501 0.06334 40 0.25173 0.20171 76 5.37793 3.19685
6 0.07167 0.06084 41 0.27424 0.22005 76 5.91225 3.59370
7 0.06667 0.06000 42 0.29675 0.23922 77 6.46824 4.01942
8 0.06334 0.05834 43 0.32260 0.25757 78 7.04089 4.47440
9 0.06167 0.05750 44 0.34929 0.27674 79 7.64551 4.97042
10 0.06084 0.05687 45 0.37931 0.29675 &0 8.30507 5.52957
11 0.06417 0.05750 46 0.41017 0.31677 a1 9.03761 6.17118
12 0.07084 0.06000 47 0.44353 0.33761 82 9.86724 6.91414
13 0.08251 0.06250 48 0.47856 0.36096 83 10.80381 7.77075
14 0.09584 0.06667 49 0.51777 0.38598 84 11.8257 1 8.72632
15 0.11085 0.07084 50 0.55948 0.41350 85 12.91039 9.76952
16 0.12585 0.07501 51 0.60870 0.44270 86 14.03509 1089151
17 0.13919 0.07917 52 0.66377 0.47523 87 15.1897B8  12.08770
18 0.14836 0.08157 53 0.72636 0.51276 88 16.36948 13.35774
19 0.15502 0.08504 54 0.79730 0.55114 89 17.57781  14.70820
20 0.15836 0.08754 55 0.87326 0.59118 90 18.82881 16.15259
21 0.15919 0.08917 56 0.95591 0.63123 91 20.14619  =17.71416
22 0.15752 0.09084 57 1.04192 0.66961 92 21.57655 19.43814
23 0.15502 0.09254 58 1.43378 0.70633 93 23.20196 21.40786
24 0.15169 0.09501 59 1.23235 0.74556 94 25,28174 23.83051
25 0.14752 0.09668 60 1.34180 0.78979 95 28.27411 27.16158
26 0.14419 0.09918 61 1.46381 0.84488 96 3310677 32.32378
27 0.14252 0.10168 62 1.60173 0.91417 97 41.68475 41.21204
28 0.14169 0.10501 63 1.75809 1.00267 98 §8.01259 57.81394
29 0.14252 0.10835 64 1.93206 1.10539 99 83.33333  83.33333
30 0.14419 0.14251 65 2.12283 1.21731
34 0.14836 0.11668 66 2.32623 1.33511
32 0.15252 0.12085 67 2.54312 1.45461
33 0.15919 0.12502 68 2.77350 1.57247
34 0.16669 0.13168 69 3.02328  1,69955
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Table of Expense Charges

The following expenses are charged under this policy:
- An initial policy fee of $150.

+  Apremium expense charge guaranteed not to exceed 5% of each premium received. {The current
premium expense charges as of the Date of Issue are 5% in years 1-14 and 2% in years 15 and

beyond).
-  Afee of $25.00 for each partial surrender.
-  Anexpense charge of $10 per month beginning on the Date of Issue.
-  Acharge per $1,000 of initial Specified Amount deducted on the Date of issue, and a charge per

$1,000 of the increase, if any, in Specified Amount deducted on the effective date of the increase,
from the table below:

 

 

 

 

 

 

Insured’s Insured’s Insured’s
Age Expense Age Expense Age Expense
{Nearest Charge (Nearest Charge (Nearest Gharge
Birthday per $1,600 Birthday per $1,000 ___ Birthday per $1,000
0-3 0.70 43 2.80 74 6.80
4-8 0.80 44 2.90 75 7.00
9-13 0.90 45-55 3.00 76 7.50
14-25 1.00 56 3.20 77 8.00
26 1.10 57 3.40 5 78 8.50
27 1.20 58 3.60 79 9.00
28 1.30 59 3.80 80 9.50
29 1.40 60 4.00 81-99 10,00
30 1.50 64 4.20
31 1.60 62 4,40 =
32 1.70 63 4.60
33 1.80 64 4,80
34 1.90 65 5.00
35 2.00 68 5.20
36 2.10 __&7 5.40
37 2.20 68 5.60
38 2.30 69 5.80
39 2.40 70 6.00
40 2.50 71 6.20
41 2.60 72 6.40
42 2.70 73 6.60

 

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Definitions

Cash Value. The sum of premiums recelved and interest credited under the policy, /ess partial
surrenders, fees, charges and monthly deductions. (Refer to "Cash Value” provision under the
“Nonforfeiture Provisions” section.)

Cost of insurance. The amount charged by the Company to provide for the death benefit coverage
under the policy. This amount is calculated as specified in the "Cost of Insurance" provision. The cost of
insurance is part of the monthly deduction for the pollcy.

Date of Issue. The date on which the policy becomes effective. The Date of issue is shown in the Policy
Specifications.

Daath Benefit. The amount payable Upon death of the insured is based upon the death benefit option
selected under the policy. The two death benefit options are: Specified Arnaunt Option 1 which provides
a level amount and Specified Amount Cptien 2 which provides an increasing amount. Each option is
dascribed under the "Death Benefit” provision and is payable as described under the "Payment of
Proceeds" provision.

Due Proof of Death. An original certified copy of an official death certificate, an original certified copy of
a decree of a court of campetent jurisdiction as to tha finding of death, or any other proof of death
satisfactory to the Company.

Home Office. The Company's Home Office Location is on the front cover of this polley, The administrator
mailing address for this policy Is also located on the front cover of this policy.

In Writing. !n a written form satisfactory to the Company and received by the Company at its
administrator mailing address.

Indebtedness, The total amount of outstanding loans, if any, and loan interest due under the policy.
Monthly Deduction. The amount deducted from the cash value on each Monthly Anniversary Day for
certain expenses and the cost of insurance. This amount is determined as specified under the “Monthly
Deduction" provision.

Monthly Anniversary Day. The day of tha month, as shown in the Policy Specifications, when monthly
deductions are made and Interest is credited. If thal day is not a business day, then such charges will be
deducted on the immediately preceding business day.

Net Cash Value. An amount equal to the cash vaiue less the amount of any Indebtedness.

Policy Anniversaries and Policy Years. Twelve-month periods measured from the Date of Issue.

Surrender Value. An amount equal to the net cash value less the amount of the applicable surrender
charge, if any, fram the "Table of Surrander Charges."

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Premium and Reinstatement Provisions

Payment of Premiums. All premiums are payable at the administrator mailing address or to an
authorized agent of the Company. The first premium is due on the Date of Issue and is payable in
advance. Subsequent premium payments may be made at any time before the Insured's Age 100.
Receipts signed by the President or Secretary and duly countersigned will be furnished upon request.

Monthly Anniversary Days, policy months, policy years and policy anniversaries are computed from the
Date of Issue.

Minimum Premiums. The Minimurn Initial Premium as shown in the Pollcy Specifications for the !nitial
Specified Amount as of the Date of issue is the amount required to commence coverage under this policy
and to prevent the policy from japsing unlil the first Monthly Anniversary Day. Thereafter, the minimum
premium amount ts the amount required to prevent the policy from lapsing as set forth under the "Policy
Lapse and Grace Period” provision.

Planned Premiums. The Company will send premium reminder natices for the amounts and frequency of
payments established by the Owner. Tha Company reserves the right to stop sending such notices if no
premium payment is made within 2 policy years. Changes in the amounts or frequency of such payments
will be subject to consent of the Company.

Unscheduled Premiums. tn addition to planned premiums, unscheduled premium payments of at least
$100.00 each may be made before the Insurec's Age 100. The Company reserves the right to limit the
amount or number of any such unscheduled premium payments.

Poltlcy Lapse and Grace Period, This policy will lapse if the net cash value on any Monthly Anniversary
Day is less than the required monthly deduction. In such event, a grace period of 61 days will be granted
to pay a premium sufficient to cover the required monthly deduction.

At least 34 days before the end of the grace period the Company will send a notice that there is
insufficient net cash vatue under the policy. The notlce will show the amount of premium required to
cover the monihly deduction to prevent the policy from lapsing and wilt be mailed to the last known
addresses of the Owner and the assignee of record with the Company, if any. if such premium, as billed
by the Company, is not paid within the grace period, all coverage under the policy will terminate without
value at the end of the grace period. If the Insured dies during the grace period, the Company will deduct
any overdue monthly deductions from the death benefit proceeds,

Reinstatement. After the policy has lapsed due to the expiration of a grace period, it may be reinstated
at any time provided: (a) It has not been surrendered for cash, (b) a written application for reinstatement
is submitted to the Company, (c) evidence of insurability satisfactory to the Company is furnished, (d)
enough premium is paid to keep the policy in force for at leasl 2 months, and (e) any indebtedness
against the policy increased by any loan interest is paid or reinstated.

The effective date of the reinstated policy will be the Monthly Anniversary Day that coincides with or next
follows the date the appiication for reinstatement is approved by the Company. The charges shown in the

"Table of Surrender Charges” under this policy will be reinstated as of the policy year in which the policy
lapsed.

Ownership, Assignment and Beneficiary Provisions

Owner. The Owner on the Date of Issue will be the person designated in the Policy Specffications. if no
Owner ts designated, the Insured will be the Owner.

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Ownership, Assignment and Beneficiary Provisions (continued)

Rights of Owner. While the Insured Is allve, the Owner may exercise all rights and privileges under the
policy including the right to: (a) release or surrender the policy to the Company, (b) agree with the
Company to any change in or amendrnent to the policy, (c) transfer all rights and privileges to another
person, (d) change the Beneficiary, and (e) assign the policy.

All rights and privileges of Owner may be exercised without the consent of any designated transferee, or
any Beneficiary if the Owner has reserved the right to change the Beneficiary. All such rights and
privileges, however, may be exercised only with the consent of any assignee recorded with the Company.

Unless provided otherwise, if ihe Owner is a person other than the Insured and dies before the Insured,
all the rights and privileges of Owner will vest in the Owner's executors, administrators or assigns.

Transfer of Owner. The Owner may transfer all rights and privileges of Owner. On the effective date of
transfer, the transferee will become the Owner and will have all the rights and privileges of Owner. The
Owner may revoke any transfer prior to its effective date.

Unless provided otherwise, a transfer will not affect the interest of any Beneficiary designated prior to the
effective date of the transfer.

A transfer of Owner, or a revocation of transfer, must be in writing on a form satisfactory to the Company
and filed at the administrator mailing address. A transfer, or a revocation, will not take effect until
recorded in writing by the Company. When a transfer or revocation has been so recorded, it wlll take
effect as of the effective date specified by the Owner. Any payment made or any action taken or allowed
by the Company before the transfer, or the revocation, Is recorded will be without prejudice to the
Company.

Assignment. The Company will not be affected by any assignment of the policy until the original
assignment or a certified copy of the assignment is filed at the administrator mailing address.

The Company does not assume responsibility for the validity or sufficiency of any assignment. An
assignment of the policy will operate so long as the assignment remains in force.

To the extent provided under the terms of the assignment, an assignment will transfer the interest of any
designated transferee or of any Beneficlary if the Owner has reserved the right to change the Beneficiary.

Beneficiary. The Beneficiary on the Date of Issue will be the person designated in the Policy
Specifications.

Unless provided otherwise, the interest of any Beneficiary who dies before the Insured will vest in the
Owner or the Owner's executors, administrators or assigns.

Change of Beneficiary. A new Beneficiary may be designated from time to time. A request for change of
Beneficiary must be in writing on a form satisfactory to the Company and filed at the administrator mailing
address. The request must be signed by the Owner. The request must also be signed by the Beneficiary
if the right to change the Beneficiary has not been reserved to the Owner.

A change of Beneficiary will not take effect until recorded in writing by the Company. When a change of
Beneficiary has been so recorded, whether or not the Insured js then allve, it will take effect as of the date
the request was signed. Any payment made or any action taken or allowed by the Company before the
change of Benéficiary is recorded willl be without prejudice to the Company.

Unless provided otherwise, the right to change any Beneficiary is reserved to the Owner.

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insurance Coverage Provisions

Effective Date of Coverage. The effective date of this policy will be the Date of Issue provided the initial
premium has been paid while the Insured is ailve and prior to any change in health from that shown In the
original application. This provision will not, however, affect the terms of any Temporary Insurance

Agreement.

For any increase or addition to coverage, the effective date will be the Monthly Anniversary Day that
colncides with or next follows the date the supplemental application is approved by the Company
provided (a) sufficient net cash value exists under the policy to cover the cost for the increase or (b)
sufficient premium for the increase or addition has been paid.

Termination of Covarage. All coverage under this policy will automatically terminate upon whichever of
the follawing occurs first:

1. The Owner surrenders the policy.
2. The insured dies.
3. The grace period ends.

Any monthly deduction made after termination of coverage will not, by itself, be considered a
reinstatement of the policy nor a waiver by the Company of the termination. Any such deduction will be

refunded.

Death Benefit. If the Insured dies while the poticy is In force, the Company will pay a death benefit based
upon the Specified Amount Option in effect on the date of death, less (a) any Indebtedness against the
policy and (b) the amount of any partial surrenders, The Specified Amount Optlons available under this
policy are as follows:

SPECIFIED The Insured's Specified Amount includes the cash value. The insured's death benefit
AMOUNT (before deduction of any Indebtedness against the policy and the amount of any partial
OPTION 1 surrenders) will equal the greater of:

(a) the Specifled Amount on the date of death, or

(b) the amount determined by the Company equal to that required by the Internal
Revenue Code to maintain this contract as a life Insurance policy. Any amount so
determined will be set forth in the annual report which the Company will send to

the Owner.
SPECIFIED The Insured's Specified Amount is in addition to the cash value. The Insured’s death
AMOUNT benefit (before deduction of any indebtedness against the policy and the amount of any
OPTION 2 partial surrenders} will equal the grealer of:

{a) the Specifled Amount on the date of death plus the cash value on the date of
death, or

(b) the amount determined by the Company equal to that required by the Internal
Revenue Cade to maintain this contract as a life insurance policy. Any amount so
determined will be set forth in the annual report which the Company will send to
the Owner,

Unless the application for the policy indicates otherwise, or a change in the death benefit option is
effected as provided below, the Company will consider Specified Amount Option 1 to be the option in
effect.

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Insurance Coverage Provisions (continued)

Changes in Amount of Death Benefit. Unless provided otherwise, a change in death benefit may be
effected under this policy, subject to (a) the consent of the Company and (b) the following conditions:

1.

All such changes must be requested in writing on a form satisfactory to the Company and filad at the
administrator mailing address located on the front cover of the policy.

If a decrease in the Insured's Specified Amount is requested, the decrease will become effective on
the Monthly Anniversary Day that coincides with or next follows receipt of the request provided any
requirements as determined by the Company are met.

in such event, lhe Company will reduce the existing Specified Amount against the most recent
increase first, then against the next most recent Increases successively, and finally, against
insurance provided under the orlginal application; however, the Company reserves the right to limit
the amount of any decrease so that the Specifled Amount will not be less than the Minimum
Specified Amount shown in the Policy Specifications.

if an increase in the Insured’s Specified Amount !s requested:

(a) a supplemental application must be submitted and evidence of insurabillty satisfactory to the
Company must be furnished; and

{b) any other requirements as determined by the Company must be met.

lf the Company approves the request, the increase will become effective upon (i) the Monthly
Anniversary Day that coincides with or next follows the date the request is approved by the
Company and (ii) the deductlon from the cash value of the first month's cost for the increase, using
the Insured's then attained age (nearest birthday) as the Issue age for such coverage.

if a raquest is made to change the death benefit from Specified Amount Option 1 to Specified
Amount Option 2:

{a) the Specified Amount will be reduced to equal the death benefit, less the cash value, as of the
effective date of change; and

(b) the effective date will be the Monthly Anniversary Day that coincides with or next follows the
date of receipt of the request for change.

If a request is made to change the death benefit from Specified Amount Option 2 to Specified
Amount Option 1:

{a) the Specified Amount will be increased to equal the death benefit as of the effective date of
change; and

({b) the effective date will be the Monthly Anniversary Day that coincides with or next follows the
date of receipt of the request for change.

Projection of Benefits and Values. The Company will provide a projection of illustrative future death
benefits and cash values at any time upon written request and payment of a reasonable service fee. The
fee payable will be the one then in effect for this service. The lilustrat[on will be based on (a) assumptions
as to Specified Amount(s), type of coverage option(s} and future planned annual premium payments, and
(b) such other assumptions (e.9., mortality and Interest) as are Necessary and specified,

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Nonforfeiture Provisions
Cash Value. On each Monthly Anniversary Day, the cash value will be calculated as (1), plus (2), plus
(3), minus {4), minus (5), where:
(1) Is the cash value on the preceding Monthly Anniversary Day.

(2) is all premiums received since the preceding Monthly Anniversary Day less the percentage of
premium expense charge from the "Table of Expense Charges.”

(3) is interest on Items (1) and (2).
(4) is the monthly deduction for the month following the Monthly Anniversary Day.

(5) is the charge per $1,000 from the "Table of Expense Charges" for an inerease in Specified
Amount, {f any, which becomes effective on the Monthly Anniversary Day.

If premium is received at any time other than the beginning of a policy month, the rate of inlerest used in
the calculation of Item (3) above will be determined pro rata from the date of receipt.

On any day other than a Monthly Anniversary Day, the cash value wil! be the cash value as of the
preceding Monthly Anniversary Day, plus all premiums received sinee the preceding Manthly Anniversary
Day less the percentage of premium expense charge from the "Table of Expense Charges.” The cash
value on the Date of Issue will be the initial premium received less (i) the initia! policy fee from the "Table
of Expense Charges,” (li) the monthly deduction for the first policy month, (iii) the percentage of premium
expense charge from the "Table of Expense Charges,” and (lv) the charge per $1,000 of Initial Specified
Amount from the "Table of Expense Charges."

Net Cash Value. The net cash value as of any date shall equal the cash value on thal date as
determined above less any indebtedness against the policy.

Monthly Deduction. The monthly deduction for a policy month will be calculaled as Charge (1) plus
Charge (2) where:

CHARGE {1) _ is the cost of insurance (as described in the "Cost of Insurance" provision) and the cost of
any additional benefits provided by rider for the poticy month.

CHARGE {2) _ Is the monthly expense charge from the "Table of Expense Charges."

Interest Rates. The Company will credit interest fo the cash value of the policy on each Monthly
Anniversary Day.

The interest rate applied to the net cash value of the policy will be the greater of
(a) .32737% per month, compounded monthly (4% compounded yearly), or

(b) a rate determined by the Company from time to time. Such rate will be established on a
prospective basis and may vary by issue year and duration.

The monthly interest rate applied to that portion of the cash value which secures any outstanding policy

loan when expressed as an equivalent annual rate shall be equal to the policy loan rate (as described in
the "Loan interest" section) less a percentage no greater than 2%.

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Nonforfeiture Provisions (continued)

Persistency Bonus. In addition to the interest being credited under the policy on each Monthly
Anniversary Day, the Company will grant a bonus at the end of policy years 6 and thereafter. This
amount will equal 0.25% of the Cash Value in Policy Years 6-10, and will equal 0.50% of Cash Value in
Policy Years 11 and thereafter and will be applied automatically to Increase the then current cash value of
the policy.

Cost of Insurance. The cost of insurance for the Insured is determined on a monthly basis. Such cost Is
calculated as (1), multiplied by the result of (2) minus (3), where:

(1) is the cost of insurance rate as described in the "Cost of Insurance Rates" provision,
(2) is the death benefit at the beginning of the policy month, divided by 1.0032737, and

(3) is the cash value at the beginning of the policy month prlor to the deduction for the monthly cost of
insurance, or zero if greater.

Cost of Insurance Rates. Monthly cost of insurance rates will be determined by the Company, based on
its expectations as to future mortality experience. Any change in cost of insurance rates will apply to all
individuals of the same class as the Insured, In determining the monthly cost of insurance, the Company
will add the amount of the Flat Extra Monthly Insurance Cost, if any, shown in the Policy Specifications. {f
the person insured is in a rated premium class, the monthly cost of insurance rates for a standard (non-
rated) risk will be multiplied by the Risk Factor, if any, shown In the Policy Specifications. Under no
circumstances will the cost of insurance rates ever be greater than those specified in the “Table of
Guaranteed Maximum Life insurance Rates.”

Insufficient Value. If the net cash value, on the day preceding a Monthly Anniversary Day is insufficient
to cover the monthly deduction for the month following such Monthly Anniversary Day, the policy will
terminate as provided in the "Policy Lapse and Grace Period” provision,

Basis of Computations. The minimum cash values under this policy are guaranteed to be no fess than
those calculated based on the applicable Commissioners 1980 Standard Ordinary Mortalily Table (age
nearest birthday) with interest at 4% per year, compounded yearly.

The cash values are at least equal to those required on the Date of Issue by the jurisdiction in which this
policy is delivered. A detailed statement of the method of computing values has been filed with the
insurance supervisory official of that jurisdiction.

Continuation of Insurance. Unless otherwise agreed to by the Owner and the Company, if the insured
is still living at age 100 and the policy has not lapsed or been surrendered, the Company will: a) continue
to credit interest to the cash value as defined in the “Interest Rates" provision, b) no Songer charge
monthly deductions under the policy; and c) conilnue the policy in force and pay the death benefit upon
receipt of due proof of death of the Insured. This provision will not continue any rider attached to the
policy beyond the date for its termination, as provided in the ridar.

Surrender and Surrender Value. This policy may be surrendered on any Monthly Anniversary Day
during the lifetime of the {nsured and during the continuance of the policy. The amount payable on
surrender of this policy (i.e., the "surrender value”) will be the net cash value on the date of surrender less
a charge determined from the "Table of Surrender Charges." (The charges shown In the table are the
charges imposed at the beginning of the policy year, charges Imposed upon surrender during the policy
year will be determined on a consistent basis allowing for the lapse of time within such year.)

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Nonforfeiture Provisions (continued)

The surrender value will be paid In cash or under an elected optional mode of selllement. The Campany
may defer the payment of the surrender value for the period permitted by law, but not for more than 6
months from the date of request for surrender.

if surrender fs requested under this section within 30 days after a policy anniversary, the surrender vatue
will not be less than the surrender value on that anniversary, less any policy loans or partial surrenders
made on or after such anniversary.

Partial Surrender. A partial surrender of this policy may be elected on any Monthly Anniversary Day
during the lifetirne of the Insured and while the policy is in force by submitting written request to the
Company. The amount of the partial surrender (a) must be at least $500 00 but (b} may not exceed 90%
of the then currant surrender value.

When a partial surrender is made, the amount of the partial surrender and the applicable fee wil! be
deducted from the cash value. Also, the death benefit payabie will be reduced by the amount of the partial
surrender. The Specified Amount remaining in force afler any partial surrender will be subject to the limits
and minimum amount described in the "Changes In Amount of Death Benefit" provision.

A fee as set forth in the "Table of Expense Charges” will be deducted from the cash value for each partial
surrender. The Company reserves the right to limit the number of partlal surrenders in @ policy year. The
Company also reserves tha right to defer payment for the period permitted by law, bul nat for more than 6
months from the date of request for tha partial surrender, unless such partial surrender amount Is to be
applied to the payment of premiums an policias with the Company.

Loan Provisions

Policy Loans. After a cash surrender vatue is available, the Company will grant a loan against the policy
provided: (a) a proper loan agreement is executed and (b} a satisfactory assignment of the policy to the
Company is made. The loan may be for an amaunt up to the full surrender value while surrender charges
apply to the policy, however, tatal indebledness against the policy may nol exceed 90% of an amount
equal to (a) the then currant cash value less (b) the surrender charge.

The Gompany may defer a toan for 6 months from the date of the request for the loan. The Company will
not, however, defer a loan to be used to pay premiums on policles with the Company,

Laan Interest. Interest On any policy joan will ba at arate equivalent to 8% per year payable in arrears.
Loan interest is payable annually on each policy anniversary or as olherwise agreed in writing by the
Owner and the Company. Interest nol paid wher due will them be added to the loan and bear interest at
the same rate. Interest, as it accrues from day to day, will constitute an indebtedness.

Indebtedness. The term "Indebtedness" means money which is owed on this policy because of a loan
on this policy. Any indebtedness al lime of setttemant wlll reduce the proceeds. Indebfedness may be
repaid in whele or in part at any time. If, however, a premium is not paid within the grace period, any
outstanding indebtedness can be repaid only if the pollcy is reinstated.

if at any time the total indebtedness against the policy, including interest accrued but not due, equals or

exceeds the then current cash value, less surrender charge, the policy will thereupon terminate without
value subject to the conditions in the "Policy Lapse and Grace Perica" provision,

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General Provisions

The Policy, The policy and the appilcation for the policy (including any supplemental applications for
additional Specified Amounts) constitute the entire contract between the parties. All statements mace in
the application will, in the absence of fraud, be deemed representations and not warranties. No statement
will be used in defense of a claim under the policy unless it is contained in the application, and a copy of
the application Is attached to the policy when issued.

Only the President, a Vice President, an Assistant Vice President, a Secretary, a Director or an Assistant
Director of the Company may make or modify this policy.

The policy is executed at the administrator mailing address located on the front cover of the policy.
Non-Partlcipation, The policy is not entitled to share in surplus distribution.

Payment of Proceeds. Proceeds, as used in this policy, means the amount payable (a) upon the
surrender of this policy, or (b) upon the death of the Insured.

The proceeds payable upon receipt of due proof of the Insurad's dealh wil! be the Insured’s death benefit
less (a) any indebtedness agalnst the policy and (b) ihe amount of any partial surrenders. If the policy is
surrendered before the death of the Insured, the proceeds will be the surrender value deseribed in the
"Nonfoteiture Provisions” section. The proceeds are subject to the adjustments described in the followlng
provisions:

1. Misstatement of Age or Sex;

2. —Incontestability;

3. Suicide;

4. Partial Surrender;

5. Policy Lapse and Grace Period; and

6. Indebtedness.

When settlement is made, the Company may require return of the policy.

Misstatement of Age or Sex. If the age or sex of lhe Insured is misstated, ihe Company will adjust all
benefits to the amounts that would have been purchased for the correct age and sex according to the
basts specified in lhe "Table of Guaranteed Maximum Life insurance Rates.”

Suicide. If the Insured commits suicide, while sane or insane, within 2 years fromm the Date of Issue, the
death benefit wil! be limited to a refund of premiums paid, jess (a) any indebtedness against the policy
and (b) the amount of any partial surrenders. If the Insured commits suicide, while sane or insane, within
2 years from the effective date of any increase in the Specified Amount, the death benefit payment with
respect to such increase will be limited to a refund of the monthly charges for the cost of such insurance,
incontestability. Except for nonpayment of monthly deductions, this policy will be incontestable after it
has been in forge during the tnsured's lifetime for 2 years. from its Date of Issue, This tneans that the
Company will not use any misstatement in the application to challenge a claim or avoid liability after that

time. Any increase in the Specified Amount effective after the Date of Issue will be incontestable only
after such increase has been in force for 2 years during the Insured's lifetime.

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General Provisions (continued)

The basis for contesting an increase in Specified Amount will be limited to material misrepresentations
made in the supplemental application for the increase. The basis for contesting after reinstatement will be
(a) limited for a period of 2 years from the date of reinstatement and (b) limited to material
misrepresentations made In the reinstatement application.

Annual Report. The Company will sand a report to the Owner at least once a year without charge for
such @ report. The report will show (a) the current death benefit, (b) the current net cash value, (c)
premiums paid and ali deductions made since the last reporl, and (d) outstanding policy loans. in
addition, the report will indicate when the policy is projected fo lapse based on current and guaranteed
faciors.

Change of Plan. This policy may be exchanged for anather policy only if the Company consents to the
exchange and all requirements for the exchange as determined by the Company are met.

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Optional Methods of Settlement

This rider is made part of the policy to which it is attached as of the Date of Issue. Upon written request,
the Company will agree to pay in accordance with any one of the options shown below all or part of the
net proceeds that may be payable under the policy.

While the Insured is alive, the request, including the designation of the payee, may be made by the
Owner. At the time a Death Benefit becomes payable under the policy, the request, including the
designation of the payee, may then be made by the Beneficiary. Once Income Payments have begun,
the policy cannot be surrendered and the payee cannot be changed, nor can the settlament option be
changed.

Payment Dates. The first Income Payment under the settlament option selected will become payable on
the date proceeds are settled under the option. Subsequent payments wiil be made on the first day of
each month in accordance with the manner of payment selected.

Minimum Payment Amount. The settlement option elected must result in an Income Payment at least
equal fo the minimum payment amount in accordance with the Company's rules then in effect. If at any
tlme payments are less than the minimum payment amount, the Company has the right to change the
frequency to an interval that will provide the minimum payment amount. If any amount due is less than
the minimum per year, the Company may make other arrangements that are equitable.

Income Payments. Income Payments will remain constant pursuant to the terms of the setttement
option(s) selected. The amount of each Income Payment shall be determined in accordance with the
terms of the settlement option and the table(s) set forth In this rider, as applicable. The mortality table
used is the 1983 Individual Annuitant Mortality GAM} Table "a" and 3% interest. In determining the
settlement amount, the settlement age of the payee will be reduced by one year when the first installment
is payable during the 1990's, reduced by two years when the first installment js payable during the
decade 2000-2009, and so on.

First Option: Life Annuity. An annuity payable monthly to the payee during the lifetime of the payee,
ceasing with the last payment due prior to the death of the payee.

Second Option: Life Annuity with Certain Period. An annuity providing monthly Income to the payee
for a fixed pariod of G0, 120, 180, or 240 months (as selected), and for as long thereafter as the payee
shail live,

Third Option: Annuity Certain. An amount payable monthly for the number of years selected which
may be from 5 to 30 years.

Fourth Option: As a Deposit at interest. The Company will retain the proceeds while the payee Is
ative and will pay interest annually thereon at a rate of not less than 3% per year. Upon the payee's
death, the amount on deposit will be. paid.

Excess Interest. Ait the sole discretion of the Company, excess interest may be paid or credited from
time to time in addition to the payments guaranteed under any Optional Method of Settiement.

Additional Options. Any proceeds payable under the policy may also be settled under any other method
of settlement offered by the Company at the time of the request.

The Lincoln National Life Insurance Company

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PRESIDENT
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Optional Methods of Settlement (Continued)
Life Annuity and Life Annuity with Certain Period Table for Each $1,000 Applied — Male

 

 

 

 

 

 

Seltiement age of Number of instalments certain Seitleenent age of Number of instalments certain Settlement age of Number of instalments certain
payee nearest payee nearest payee nearest
birthday 60 420 180 240 birthday 60 420 180 240 birthday 60 120 180 240
Age = Life Annuity Age —_ Life Annuity Age = Life Annuity
16 $2.87 $2.87 $2.87 $2.87 $2.87 35 $3.44 53.44 $3.44 $3.43 $3.44 60 $5.28 $5.25 $5.14 $4.96 $4.74
14 2.89 2.89 2.89 2.88 2.88 36 3.48 348 3.48 3.46 3.45 64 5.43 5.39 5.27 5.06 4.78
12 2.90 2.90 2.00 2.90 2.90 37 3.52 3.52 3.52 3.50 3.48 62 5.58 5.53 5,39 5.16 4.84
13 2.92 2.92 2.94 2.91 2.94 38 3.57 3.56 3.56 3.54 3.62 63 5.74 5.69 5.53 5.26 4.90
14 2.93 2.93 2.93 2.93 2.92 39 3.61 3.61 3.60 3.58 3.56 64 5.91 5.85 5.66 5.36 4.36
45 2.95 2.95 2.95 2.94 2.94 40 3.66 365 3.65 3.63 3.60 65 6.10 6.03 5.81 5.46 5.02
16 2.96 2.96 2.96 2.96 2.96 44 3.77 3.70 3.69 3.67 3.64 66 6.30 6.21 5.86 5.56 5.08
17 2.98 2.38 2.98 2.98 2.97 42 3.76 3.75 3.74 3.72 3.68 67 6.51 6.41 6.12 5.65 5.13
18 3.00 3.00 3.00 2.99 2.39 43 3.81 3.84 3.79 3.77 3.73 68 6.73 6.62 6.28 5.77 5.18
19 3.02 3.02 3.07 3.01 3.04 44 3.87 3.86 3.85 3.82 3.77 63 6.97 6.84 644 5.86 5.23
20 3.04 3.04 3.03 3.03 3.03 45 3.93 3.92 3.90 3.87 3.82 70 7.23 7.07 6.67 5.96 5.27
21 3.06 3.05 3.05 3.05 3.05 46 3.89 3.98 3.96 3.92 3.87 71 7A 7.32 6.79 6.05 3.31
22 3.08 3.08 3.07 3.07 3.07 47 4.05 4.05 4.02 3.88 3.92 72 7.80 7.58 6.96 6.14 5.34
23 3.10 3.16 3.09 3.08 3.08 48 4.12 4.11 4.08 4.04 3.97 73 8.12 7.85 7.14 €.23 5.37
24 3.12 3.12 3.12 3.44 3.14 43 4.19 4.18 4.16 419 4.03 74 8.46 8.14 7.32 6.31 5.40
25 3.44 3.14 3.14 3.14 3.43 50 4.27 4.26 4.22 AAT 4.08 75 8.82 8.45 7.50 6,38 §.42
26 3.17 3.17 3.416 3.16 3.15 31 4.34 4.33 4,30 4.23 4414 76 9.24 8.76 7.67 645 §.44
27 3.19 3.19 3.49 3.19 3.18 52 4.43 4.44 4.37 4.30 4.20 V7 9.63 9.10 7.84 6.51 §.45
28 3.22 3.22 3.22 3.21 3.26 53 4.51 4.50 4.45 4.37 4.26 78 40.08 9.44 8.04 6.57 5.47
29 3.25 3.25 3.24 3.24 3.23 54 4.60 459 454 445 4.32 79 10.56 9.80 8.17 6.62 5.48
30 3.28 3.28 3.27 3.27 3.26 56 4.70 4.68 4.62 4.53 4.39 80 11.07 10.17 8.33 6.66 5.439
34 3.31 3.31 3.30 3.30 3.28 56 4.80 4.78 4.72 4.61 4.45 81 11.62 10.55 8.48 6.70 5.49
32 3.34 3.34 3.33 3.33 3.32 37 4.91 4.89 4.82 4.69 4.51 82 12.20 10.94 8.67 6.73 5.50
33 3.37 3.37 3.37 3.36 3.36 58 5.03 5.00 4,92 4.78 4.58 83 12.82 14.33 8.74 6.76 §.50
34 3.41 3.44 3.40 3.39 3.38 59 5.15 5.12 5.03 4.87 4.65 84 13.47 11.73 8.86 6.79 5.51
85 14.17 12.12 8.97 6.81 3.54
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Optional Methods of Settlement (Continued)
Life Annuity and Life Annuity with Certain Period Table for Each $1,000 Applied — Female

 

 

 

 

 

 

 

 

 

 

 

Settlement age of Number of instalments certain Settiement age of Number of instalments certain Settlement age of Number of instalments certain a
payee nearest payee nearest payee nearest
birthday 60 120 180 240 birthday 60 120 180 240 birthday 60 120 180 240
Age = Life Annuity Age Life Annuity Age Life Annuity
10 $2.80 $2.80 $2.80 $2.80 $2.80 35 $3.26 $3.26 $3.26 $3.25 33.24 60 $4.72 $4.76 $4.66 $4.57 $4.44
11 2.84 2.81 2.81 2.81 Zt 36 3.29 3.29 3.29 3.26 3.27 61 4.83 4.84 4.76 466 451
12 282 2.82 2.82 2.82 2.82 a7 3.32 3.32 3.32 rail 3.30 G2 4.95 4.93 4.87 4.75 4.58
43 2.83 2.83 2.83 2.83 2.83 38 3.35 3.35 3.35 3.34 3.33 63 5.08 5.05 4.98 4.85 4.65
14 2,85 2.85 2.85 2.84 2.84 39 3.38 3.39 3.38 3.38 3.37 64 5.21 5.18 5.10 495 4.72
16 2.06 2.86 2.86 2.86 2.86 40 3.42 3.42 3.42 3.41 3.46 65 5.36 5.32 5.22 5.08 4.79
16 2 87 2.87 2.87 2.87 2.87 44 3.46 3.46 3.46 3.45 3.43 66 5.54 5.47 5.36 5.16 4.85
7 2.89 2.89 2.89 2.88 2.88 42 3.56 3.50 3.50 3.49 3.47 67 5.67 6.63 5.50 5.26 4.93
18 2.90 2.90 2.90 2.90 2.90 A3 3.54 3.54 3.54 3.53 3.51 68 5.85 5.80 5.65 §.37 5.00
19 2.92 2.92 2.92 2.54 2.91 44 3.59 3.59 3.58 3.57 3.55 69 8.04 5.98 5.80 5.49 5.08
20 2.93 2.93 2.93 2.93 2.93 45 3.64 3.63 3.63 3.61 3,59 70 6.25 6.18 5.97 5.60 5.42
21 2.95 2.95 2.95 2.95 2.94 46 3.68 3.68 3.67 3.66 3.63 71 6.47 6.39 6.14 5.71 5.18
22 2.96 2.96 2.96 2.96 2.96 47 3.73 3.73 3.72 371 3.68 72 6.71 6.62 6.32 5.83 5.23
23 2.98 2.98 2.98 2.98 2.98 48 3.79 3.79 377? 3.76 3.72 73 6.98 6.86 6.50 5.94 3.28
24 3.60 3.00 3.00 3.00 2.99 49 3.84 3.84 3.83 3.81 3.77 74 7.26 7.12 6.69 6.04 5.32
25 3.02 3.02 3.02 3.02 3.01 50 3.90 3.90 3.89 3.86 3.82 75 7.57 740 6.89 6.14 5.35
26 3.04 3.04 3.04 3.03 3.03 51 3.97 3.96 3.95 3.92 3.88 76 7.90 7.69 7.09 6.24 5.39
27 3.06 3.06 3.06 3.06 3.05 52 4.03 4.03 4.01 3.98 3.93 7? 8.26 8.01 7.29 6.33 5.44
28 3.08 3.08 3.08 3.08 3.07 $3 4.10 4.10 4.08 4.04 3.99 78 8.65 8.34 7.49 6.41 5.43
29 3.10 3.10 3.70 3.10 3.09 54 4.18 4.47 4.15 4.u4 4.04 79 9.08 8.70 7.69 6.49 5.45
30 3.13 3.13 3.12 3.12 3.12 55 4.25 4.25 4.22 4.18 4.11 3&0 9.54 9.07 7.89 6.55 5.47
31 3.18 3.18 3.15 3.14 3.14 56 4.34 4.33 4.30 4.26 4.47 81 10.03 9.47 8.08 6.61 5.48
32 3.18 3.18 3.17 3.17 3.16 oF 4.42 4.41 4.38 4.32 4.23 82 40.58 9.88 8.26 6.66 5.49
33 3.26 3.20 3.20 3.20 3.19 58 4.52 4.51 4.47 4.40 4.30 83 11.16 10.31 8.43 6.70 5.49
34 3.23 3.23 3.23 3.22 3.22 59 4.64 4.60 4.56 448 4.37 84 11.86 10.75 8.59 6.74 5.58
85 12.48 14.20 6.74 6.77 5.50 |
Annuity Certain Table for Each $1,009 Applied
Number of years Amount of each instalment Number of years Amount of each instalment Number of years Amount of each instalment
during which during which during which
instaiments will be instalments will be instalments wil be
paid Annual Monthly paid Annual Monthty paid Annual Monthiy
5 $214.99 $17.91 12 $97.54 $8.24 19 $67.78 $5.73
6 479.22 15.14 13 91.29 771 20 $5.26 5.51
7 455.83 13.16 14 85.95 7.26 25 55.76 4.71
8 138.31 11.68 15 84.33 6.87 30 49.53 418
g 124.69 10.53 16 7?.29 $.53
10 113.82 3.61 17 73.74 §.23
i1 104.93 8.86 418 70.59 5.96
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The Lincoin National Life Insurance Company

Death Benefit Option Amendment
1. The “Death Benefit’ provision of the policy is hereby amended la include the following option:

SPECIFIED The Specified Amount in addition to the Accumulated Premiums. The Death Benefit
AMOUNT (before deduction of any indebtedness against the policy and the amount of any partial
OPTION 3 surrenders} will equal the greater of:

1. the sum of the Specifled Amount plus the Accumulated Premium(s) on the date of
death, up to the Speciflad Amount Option 3 Limit shown in the Pollcy
Specifications, or

2, the amount determined by the Company equal to that required by the Internal
Revenue Code to maintain this contract as a life Insurance policy. Any amount so
determined will be set forth in the annual statement which the Company will send
to the Owner.

For Specified Amount Option 3, a partial surrender will reduce the Accumulated
Premiums, the Death Benefit, and the Specifled Amount Option 3 Limit by the amount of
the partial surrender. If the amount of the partial surrender excesds the Accumulated
Premiums, the Specified Amount will be reduced by the excess amount. A decrease in
Specified Amount will reduce the Specified Amount Option 3 Limit. An increase in
Spealfied Amount, if approved by the Company, will increase the Specified Arnount
Option 3 Limit unless requested otherwise by the Owner.

The Accumulated Premiurn is determined on each Monthly Anniversary Day and is based on the sum of
all premiums paid, less the Cumulative Policy Factor (if elected) from the later of the Effective Date of this
amendment, or the effective date of change to Specified Amount Option 3, untli the Policy Anniversary
that coincides with the Insured's attained age 100. Any premium paid thal will cause the Death Benefit
amount to exceed the Specified Amount Cotion 3 Limit will be applied to the policy, but will not increase
the Death Benefit.

The Owner may request an increasé to the Specified Amount Option 3 Limit. If an increase fs requested,
a supplement application must be subrnitted and evidence of insurabiily satisfactory to Lincoln Life must
be furnished. If Lincoln Life approves lhe request, the increase will becorne effective upon the Monthly
Anniversary Day that coincides with or next follows the date the request is approved.

The Cumulative Policy Factor, If elected by the Owner, is an amount determined on each Monthly
Anniversary Day from the falar of the Effective Date of this amendment or the effective date of change in
Specified Amount Option 3, and is calculated as (1} multipfied by (2) where:

(1) is the applicable monthly rate from the table then used by the Internal Revenue Service (IRS) fo
determine the economic benefit attributable to life insurance coverage, or an alternative table
permitted by the IRS, as selected by the Owner at issue; and

(2) is the Specified Amount divided by 1,000.

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Death Benefit Option Amendment (continued)

Il. The “Changes in Amount of Death Benefit” provision of the policy is hereby amended to provide the
following additional conditions:

6.

40.

if a request Is made to change the Death Benefit from Specified Amount Option 3 to
Specified Amount Option 1, the Specified Amount will be increased by Accumulated
Premiums less the Cumulative Policy Factor (if elected) as of the effective date of change.

lf a request is made to change the Death Benefit from Specified Amount Option 3 to
Specified Amount Option 2 and the Cash Value is greater than the Accumulated Premium
less the Cumulative Policy Factor (if elected}, the Specified Amount will be reduced by the
Cash Value less Accumulated Premium plus the Cumulative Policy Factor (if elected), as of
the effective date of change.

If a request Is made to change the Death Benefit from Specified Amount Option 3 to
Specified Amount Option 2 and the Cash Value is less than Accumulated Premiums less
the Cumulative Policy Factor (if elected), the Specified Amount will be increased by ihe
Accumulated Premium less the Cumulative Poticy Factor (if elected), less the Cash Vatue
as of the effective date of change.

If a request Is made to change the Death Benefit from Specifled Amount Option 2 to
Specified Amount Option 3, the Specified Amount will be increased by the Cash Value, as
of the effective date of change.

With respect to changes described In 6 through 9 above, the effective date of the change
will be the Monthly Anniversary Day that coincides with or next follows the date the request
is received at the Administrator Mailing Address.

lll. The definition of “Death Benefit” is amended to read:

Death Benefit. The amount payable upon death of the Insured is based upon the death benefit option
elected under the policy. Each opilon is described under the “Death Benefit” provision (or policy
amendment) and ts payable as described under the “Payment of Proceeds” provision.

Effective Date. The Effective Date of this amendment Is the Date of Issue of the policy or the date this
amendment is attached to the policy, whichever is later.

This amendment rider is attached to and forms a part of the policy, Except as specifically altered by this
amendment, all of the provisions, limitations, and exclusions of the policy remain in fult farce and effect.

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Lapse Protection Rider

This rider is made part of the policy to which It is attached if "Lapse Protection Rider" is shown on the
Policy Specifications.

Lapse Protection, The policy will not lapse as long as the No-Lapse Value, less Indebtedness, is
greater than zero. The No-Lapse Value is a reference value equal to what tha Cash Value would have
been if it had been calculated using:

1) an interest rate, including the rate applied to borrowed funds, of 0.36748% per month,
compounded monthly (4.5% annually);

2} the No-Lapse reference factors from the "Table of No-Lapse Factors" (attached to this rider), as
the Cost of Insurance rates; and

3) the current premium expense charge from the "Table of Expense Charges” as of the Date of
Issue, as the premium expense charge.

The No-Lapse Value is a reference value and is not used in determining the actual Cash Value or Death
Benefit providad by this contract. The No-Lapse Value may become less than zero. If the No-Lapse
Value is less than or equal to zero, the policy may Japse as provided by the “Policy Lapse and Grace
Period" provision of the policy.

A new "Table of No-Lapse Factors" will be provided with respect to any increase in Specified Amount and
will apply to the increase for purposes of determining the No-Lapse Value.

Termination. This rider and all rights provided under it will terminate automatically upon whichever of the
following Occurs first: (a) the Insured reaches age 100, or (b) surrender or other termination of the policy,

The duration of the Lapse Protection provided by this rider may be reduced if: a) scheduled premlums
are not received on or before thelr due date; or b) the Owrier initiates any galicy change that decreases
the Net Cash Value under the policy. Policy changes that could decrease the Nel Cash Value include
partial surrenders, loans, Increases in Speciflad Arnount, or changes to Death Benefit Options 2 or 3.
Policy Provisions. Except as provided above, this rider is subject to all the terms of the policy.

Effective Date. This rider becomes effective as of its Date of Issue which is the Date of Issue of the
policy.

The Lincoln National Life Insurance Company

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Table of No-Lapse Factors

 

 

SPECIAL NOTE: These monthly reference factors are based on tha sox, Issue age (nearest birthday)
and Premium Class of the Insured. in determining the Cosl of Insurance used in the
calculation of the No-Lapse Value, Lincoln Life will add the amount of the Flat Extra
Monthly Insurance Cast, if any, shown in the Policy Specifications. If the Insured Is
in a rated premium class, the No-Lapse rates will be those in the table multiplied by
the Risk Factor, if any, shown In the Policy Specifications. These factors are not
used in calculating the actual Cash Vatue or Death Banefit provided under the policy.
Monthly Monthly Monthly

__ Duration Rate Duration Rate Duration Rate
1 1.063630 2 1.269920 3 1.450430
4 1.717110 § 1.864300 6 1.790700
7 2.104420 8 2.301950 9 2.517990
10 3.928710 11 4.267300 12 4.615370
13 4.969570 14 5.331610 15 §.706550
16 6.100326 17 6.526490 18 7.010470
19 7.628590 20 8.514380 21 9.936090
22 12.438650 23 17.122410 24 26.2567 80

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